                  IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                       CRIMINAL DOCKET NO. 5:02CR37-RLV



UNITED STATES OF AMERICA                           )
                                                   )
                                                   )
               vs.                                 )                     ORDER
                                                   )
TYRONE JAVELLE BOWENS                              )
                                             ______)


               THIS MATTER is before the Court upon Defendant’s Ex Parte Motion To Continue

the Supervised Release Hearing scheduled for August 6, 2012, in the Statesville Division. For the

reasons stated in the Defendant’s Motion, the Court finds that good cause has been shown to

continue this matter. IT IS, THEREFORE, ORDERED that Defendant’s Motion for a continuance

is GRANTED. Consequently, the Supervised Release Hearing scheduled for August 6, 2012,

sentencing term in the Statesville Division is hereby continued to the next available sentencing term

in the Statesville Division. FURTHER, IT IS ORDERED that the Defendant’s Ex Parte Motion

is filed under seal.

                                                 Signed: July 25, 2012




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